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 8                             UNITED STATES DISTRICT COURT
 9           CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
10

11    LEAH SNYDER,                               )     Case No.: SACV 21-00187-CJC (KESx)
                                                 )
12                                               )
                  Plaintiff,                     )
13                                               )
            v.                                   )     ORDER GRANTING IN PART AND
14                                               )     DENYING IN PART DEFENDANT’S
                                                 )     MOTION TO DISMISS [Dkt. 10]
15                                               )
      ALIGHT SOLUTIONS, LLC, and                 )
16    DOES 1 TO 10,                              )
                                                 )
17                                               )
                  Defendant.                     )
18                                               )
                                                 )
19                                               )
20    I. INTRODUCTION
21

22          In this case, Plaintiff Leah Snyder alleges that Defendant Alight Solutions, LLC
23    wrongfully terminated her after she posted photos of herself at the Washington, D.C.
24    Capitol building on January 6, 2021. (Dkt. 1 [Complaint, hereinafter “Compl.”].) Before
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 1    the Court is Defendant’s motion to dismiss. (Dkt. 13 [hereinafter “Mot.”].) For the
 2    following reasons, the motion is GRANTED IN PART AND DENIED IN PART.1
 3

 4    II. BACKGROUND
 5

 6           Plaintiff is a computer programmer and coder who worked for Defendant for over
 7    20 years. (Compl. ¶ 9.) On January 6, 2021, she visited Washington, D.C. to attend
 8    former President Donald Trump’s “Save America Rally.” (Id.) After returning home,
 9    Plaintiff posted two selfies taken at the Capitol to comments on Sean Armstrong’s
10    Facebook page. (Id. ¶ 10.) Along with the selfies, she commented that it was “a peaceful
11    and fun day!” with “MILLIONS of people there.” Armstrong then posted the photos and
12    the comment thread on Defendant’s Facebook page with the caption, “Alight employee
13    storming the capital.” (Id.) “Deeply troubled by [Plaintiff’s] apparent alliance with the
14    rioters at the January 6 insurrection, and after an investigation verifying the photos,
15    [Defendant] terminated her employment” 2 days later. (Mot. at 1; Compl. ¶ 12.) Plaintiff
16    alleges that Defendant’s reason for terminating her—participation in a riot—was
17    pretextual, and that her employment was really terminated because of a political motive.
18    (Compl. ¶¶ 12, 29.)
19

20    III. LEGAL STANDARD
21

22           A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the legal
23    sufficiency of a plaintiff’s claims. The issue on a motion to dismiss for failure to state a
24    claim is not whether the plaintiff will ultimately prevail, but whether the plaintiff is
25    entitled to offer evidence to support the claims asserted. Gilligan v. Jamco Dev. Corp.,
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        Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28    for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
      for May 17, 2020, at 1:30 p.m. is hereby vacated and off calendar.
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 1    108 F.3d 246, 249 (9th Cir. 1997). Rule 12(b)(6) is read in conjunction with Rule 8(a),
 2    which requires only “a short and plain statement of the claim showing that the pleader is
 3    entitled to relief.” Fed. R. Civ. P. 8(a)(2); see Whitaker v. Tesla Motors, Inc., 985 F.3d
 4    1173, 1176 (9th Cir. 2021). When evaluating a Rule 12(b)(6) motion, the district court
 5    must accept all material allegations in the complaint as true and construe them in the light
 6    most favorable to the non-moving party. Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d
 7    1005, 1014 (9th Cir. 2012). To survive a motion to dismiss, a complaint must contain
 8    sufficient factual material to “state a claim to relief that is plausible on its face.” Bell Atl.
 9    Corp. v. Twombly, 550 U.S. 544, 570 (2007). A complaint must contain well-pleaded
10    factual allegations, not legal conclusions, that “plausibly give rise to an entitlement to
11    relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).
12

13    IV. DISCUSSION
14

15          Defendant moves to dismiss Plaintiff’s claims for (1) violation of the Bane Act,
16    (2) wrongful termination in violation of public policy, and (3) breach of the covenant of
17    good faith and fair dealing.
18

19          A. Bane Act
20

21          The Bane Act, enacted in 1987 to address hate crimes, “provides a cause of action
22    for violations of a plaintiff’s state or federal civil rights committed by ‘threats,
23    intimidation, or coercion.’” Chaudhry v. City of Los Angeles, 751 F.3d 1096, 1105 (9th
24    Cir. 2014) (quoting Cal. Civ. Code § 52.1). The focus of the Bane Act is on violence.
25    “[T]o state a cause of action under section 52.1 there must first be violence or
26    intimidation by threat of violence.” Cabesuela v. Browning-Ferris Indus. of California,
27    Inc., 68 Cal. App. 4th 101, 111 (1998); see Gottschalk v. City & Cty. of San Francisco,
28    964 F. Supp. 2d 1147, 1163 (N.D. Cal. 2013) (“In order to state a claim under these

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 1    sections, however, a plaintiff must allege that the defendant engaged in violence or threat
 2    of violence.”). “Speech alone is not sufficient to support” a Bane Act claim unless “the
 3    speech itself threatens violence against a specific person or group of persons[,] and the
 4    person or group of persons against whom the threat is directed reasonably fears that,
 5    because of the speech, violence will be committed against them or their property and that
 6    the person threatening violence had the apparent ability to carry out the threat.” Cal. Civ.
 7    Code § 52.1(k).
 8

 9          Plaintiff has not alleged that Defendant committed any violence or intimidation by
10    threat of violence. See Clifford v. Regents of Univ. of California, 2012 WL 1565702, at
11    *10 (E.D. Cal. Apr. 30, 2012), aff’d, 584 F. App’x 431 (9th Cir. 2014) (dismissing a
12    Bane Act claim with prejudice for this reason). Instead, she alleges that Defendant
13    interfered with her constitutional right to assemble and express her political beliefs by
14    threats, intimidation, or coercion, by “caus[ing] Plaintiff to reasonably believe that if she
15    exercised her constitutional rights to speak freely, peaceably assemble or petition her
16    grievances to the Government, Defendants would terminate her employment and report
17    her to law enforcement for engaging in unlawful activity.” (Compl. ¶ 14.) But
18    terminating Plaintiff’s employment was not violence. The facts alleged here simply do
19    not fit into a Bane Act claim. See Gottschalk, 964 F. Supp. 2d at 1163 (N.D. Cal. 2013)
20    (explaining that the plaintiff’s claim under the Bane Act was “clearly inapplicable to the
21    factual scenario she alleges,” which lacked any threat of violence). Because Plaintiff has
22    not and cannot sufficiently allege a Bane Act claim based on these facts, her Bane Act
23    claim is DISMISSED WITH PREJUDICE.
24

25          B. Wrongful Termination in Violation of Public Policy
26

27          In general, an at-will employee may be terminated for an arbitrary reason, for an
28    irrational reason, or for no reason at all. Yau v. Santa Margarita Ford, Inc., 229 Cal.

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 1    App. 4th 144, 155 (2014). However, an employer may not terminate an at-will employee
 2    for an unlawful reason, or for a purpose that contravenes fundamental public policy. Id.
 3    “When an employee is discharged in violation of ‘fundamental principles of public
 4    policy,’ the employee may maintain a tort action and recover damages traditionally
 5    available in such actions.” Grinzi v. San Diego Hospice Corp., 120 Cal. App. 4th 72, 79
 6    (2004) (quotations omitted). California courts recognize four categories of public policy
 7    cases: “the employee (1) refused to violate a statute; (2) performed a statutory obligation;
 8    (3) exercised a constitutional or statutory right or privilege; or (4) reported a statutory
 9    violation for the public’s benefit.” Green v. Ralee Eng’g Co., 19 Cal. 4th 66, 76 (1998).
10

11           Plaintiff alleges that she was wrongfully terminated for exercising “constitutional
12    rights to speak freely, peaceably assemble or petition her grievances to the Government.”
13    (Compl. ¶ 24.) She alleges that her termination was in violation of the public policy
14    described California Labor Code §§ 1101 and 1102.2 “Sections 1101 and 1102 . . .
15    prohibit employers from interfering with ‘the fundamental right of employees in general
16    to engage in political activity.’” Couch v. Morgan Stanley & Co. Inc., 656 F. App’x 841,
17    842 (9th Cir. 2016).3 “[L]iability under §§ 1101(a) and 1102 is triggered only if an
18    employer fires an employee based on a political motive.” Id. at 843.
19

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       Plaintiff also alleges that her termination was in violation of the public policy described in Labor Code
22
      § 98.6. However, California courts have explained that § 98.6—which states that employers may not
23    discharge employees or discriminate against them for, among other activity, lawful conduct occurring
      during nonworking hours away from the employer’s premises—does not create a “public policy” on
24    which to base a wrongful discharge in violation of public policy claim. Grinzi v. San Diego Hospice
      Corp., 120 Cal. App. 4th 72, 88 (2004).
25
      3
        Section 1101 states: “No employer shall make, adopt, or enforce any rule, regulation, or policy . . .
26
      forbidding or preventing employees from engaging or participating in politics, or . . . controlling or
27    directing, or tending to control or direct the political activities or affiliations of employees.” Section
      1102 states: “No employer shall coerce or influence or attempt to coerce or influence his employees
28    through or by means of threat of discharge or loss of employment to adopt or follow or refrain from
      adopting or following any particular course or line of political action or political activity.”
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 1          Here, Plaintiff has sufficiently pled that her termination was politically motivated.
 2    She alleges that Defendant stated that it fired her because she purportedly participated in
 3    a riot, but that that reasoning was “pretextual.” (Compl. ¶ 29.) She alleges that her visit
 4    to the Capitol was “peaceful,” in order to “present[ ] displeasure with vote counting
 5    procedures during the recent national election.” (Id. ¶ 9.) She alleges that “[s]he did not
 6    see nor participate in any rioting,” “enter the Capitol,” or “observe or hear of any injuries
 7    to persons or damages to property,” and that police officers told her “that what she was
 8    doing was legal.” (Id.) The true reason for Plaintiff’s firing cannot be resolved at the
 9    pleading stage. Her allegations are sufficient to survive a motion to dismiss.
10

11          C. Breach of Covenant of Good Faith and Fair Dealing
12

13          Similarly, Plaintiff alleges that “Defendants violated the duty implied in their
14    employment contract to act fairly and in good faith . . . by terminating Plaintiff based on
15    pretextual grounds that she had engaged in rioting or trespass, without basis in fact.”
16    (Compl. ¶¶ 29, 31.) This claim also cannot be resolved at the pleading stage because
17    Plaintiff has sufficiently alleged that her termination was politically motivated.
18

19    //
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 1

 2    V. CONCLUSION
 3

 4          For the foregoing reasons, Defendant’s motion to dismiss is GRANTED as to
 5    Plaintiff’s Bane Act claim and DENIED as to Plaintiff’s claims for wrongful discharge in
 6    violation of public policy and breach of the covenant of good faith and fair dealing.
 7    Defendant shall file an answer to the Complaint by May 20, 2021.
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 9       DATED: May 5, 2021
10

11
                                                 HON. CORMAC J. CARNEY
12

13                                           UNITED STATES DISTRICT JUDGE
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